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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

KARRA LINDEMANN,

       Plaintiff,
v.                                                   CASE NO.: 8:13-CV-01566-EAK-TBM


GC SERVICES LIMITED
PARTNERSHIP,

      Defendant.
_______________________________/

              JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       COMES NOW, the Parties in the above styled action, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), having amicably resolved all matter in controversy, and hereby jointly

stipulate to a Dismissal with Prejudice of this action with each party to bear its own attorney’s

fees and costs except as otherwise agreed by the parties.


       Respectfully submitted by:



       /s/ James S. Giardina                                _/s/__John P. Gaset
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on January 22, 2014 I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF. I also certify that the foregoing document is being served

this day on all counsel either via transmission of Notices of Electronic Filing generated by

CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

to receive electronically Notices of Electronic Filing.


                                                       /s/ John P. Gaset
                                                      JOHN P. GASET, ESQ.
                                                      Florida Bar No. 98415




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